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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


  STATE OF ILLINOIS,

                        Plaintiff,
                                                      Case No. 17-cv-6260
                v.                                    Honorable Robert M. Dow, Jr.

  CITY OF CHICAGO,

                        Defendant.


  PLAINTIFF’S RESPONSE TO COMMENTS FROM THE COMMUNITY AND U.S.
  DEPARTMENT OF JUSTICE REGARDING THE PROPOSED CONSENT DECREE

       The State of Illinois (“State”), by Lisa M. Madigan, Attorney General, respectfully submits

this Response to the comments submitted to the Court regarding the Proposed Consent Decree,

and states:

  I.   INTRODUCTION

       The longstanding history of unconstitutional policing in Chicago and the failure to enact

lasting reforms has created deep mistrust between many Chicago communities, particularly

communities of color, and the Chicago Police Department (“CPD”). The Proposed Consent Decree

is a heavily negotiated document that provides a robust and comprehensive remedy to redress the

decades-long pattern of unconstitutional conduct alleged in the State’s Complaint. The Proposed

Consent Decree is lawful, fair, reasonable, and adequate, and should be approved.

       The State recognizes that the Proposed Consent Decree cannot and will not cure every

concern that Chicago residents have about policing and the criminal justice system. As many have

acknowledged in their comments to this Court, the Proposed Consent Decree represents an

important, though not final, step towards much-needed reform. A majority of the comments made
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to the Court regarding the Proposed Consent Decree support its entry, but also advocate for certain

additional provisions to further strengthen the agreement.

       Although the Proposed Consent Decree incorporates the goals underlying several of the

recommendations made to the Court through written comments and at the Fairness Hearing, the

State recognizes that a number of the recommended additional provisions have not been fully

incorporated. While the State does not disagree with the objectives of most of these additional

provisions, the Proposed Consent Decree is the product of extensive arm’s-length negotiation

between the parties that fairly addressees the constitutional policing issues raised in the State’s

Complaint. Further, even in the absence of these additional provisions, the Proposed Consent

Decree envisions that, going forward, the community will continue to remain engaged in CPD’s

reform efforts through continuing dialogues, meaningful opportunities to participate in the

development of CPD policies and training, and an agreed-upon enforcement mechanism. (Dkt.

107-1 ¶¶ 21-27, 39-41, 46, 52, 87, 91, 122, 136, 160, 259, 271-72, 283, 421-22, 511, 525, 531-32,

538, 622, 633, 645-48, 651, 669-70, 709, 721.) These opportunities will help ensure that the

reforms undertaken by the City and CPD are responsive to the needs of both officers and the

community at large. This agreement is a historic remedy both in breadth and strength that provides

a solid framework for addressing systemic problems within CPD that have been decades in the

making. Accordingly, as many in the community have stressed in their comments to the Court,

time is of the essence and the Proposed Consent Decree should be approved.

 II.   PROCEDURAL BACKGROUND

       For over 50 years, investigations of CPD’s policing practices have revealed widespread

constitutional violations, including repeated police abuse and use of excessive force, all of which

has disproportionately harmed Chicago’s African American and Latino residents. Following each



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review, efforts aimed at reforming CPD have fallen short, proving insufficient to adequately

address its unlawful policing practices. In August 2017, the State brought this action to eliminate

the unconstitutional conduct that has plagued Chicago for decades. On September 13, 2018,

following months of investigation, including input from numerous subject matter experts, CPD

officers, and community members from all across Chicago, and robust, arm’s-length negotiations

between the City and the State, the parties submitted the Proposed Consent Decree to this Court

for approval.

       Throughout the process of drafting the Proposed Consent Decree, the Office of the Illinois

Attorney General (“OAG”) received meaningful input from community members and police

officers. The OAG established a website, email address, and telephone hotline to provide

Chicagoans with information on this case and offer an avenue for submitting input. The website

was visited more than 13,000 times and OAG received over 1,600 comments submitted via the

website, email, and voice messages. In addition, the OAG, in partnership with the Institute for

Policy and Civic Engagement at the University of Illinois at Chicago, held fourteen Consent

Decree Community Roundtables in neighborhoods throughout Chicago as well as several

additional facilitated small group conversations. Through this process, the OAG received over

6,000 wide-ranging and diverse comments from over 1,000 participants throughout the City.

Through its partnership with the Police Foundation, the State was also able to solicit input from

current CPD officers through thirteen focus groups of randomly selected CPD officers and a

password-protected open comment box made available to all CPD members. The feedback

received was invaluable to informing the negotiation of the Proposed Consent Decree and has

resulted in an agreement that lays a comprehensive and durable foundation of reforms for

addressing CPD’s pattern of unconstitutional policing.



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       On July 27, 2018, the parties published a draft of the consent decree and encouraged the

public to comment on how they believed the draft could be improved. After receiving nearly 1,700

comments and suggestions covering a diverse range of topics, the parties then began a new round

of extensive negotiations relating to the feedback from the public comment period. The parties

made additions and changes to the draft of the consent decree incorporating public feedback in a

number of areas, including: requiring the City to use best efforts to expand the Civilian Office of

Police Accountability’s jurisdiction to investigate sexual misconduct by CPD officers; providing

additional protections for individuals with disabilities; requiring improvements to how CPD and

the City handle crisis intervention; and providing increased transparency and expanded

opportunities for community input. The Proposed Consent Decree is the product of thorough

investigations, considerable community and police input, and hundreds of hours of painstaking

negotiations between the parties.

       For assistance in determining whether the Proposed Consent Decree is lawful, fair,

reasonable, and adequate, this Court invited the public to submit written and oral comments on the

terms of the Proposed Consent Decree. The Court received over 500 written comments and heard

from 96 speakers during a two-day public hearing. Over 400 of the written comments made to the

Court support entry of a consent decree to ensure comprehensive and systemic reform of CPD.

Some community members and community-based organizations (the “Community”) also made

recommendations for strengthening the agreement. In addition to the Community comments

submitted in support of the Proposed Consent Decree, the United States Department of Justice

(“DOJ”) submitted to the Court a Statement of Interest opposing the entry of the Proposed Consent

Decree. (Dkt. 160.) Neither the absence of certain additional provisions nor the opposition of the

DOJ should preclude approval of what is a fundamentally lawful, fair, reasonable, and adequate



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agreement. E.E.O.C. v. Hiram Walker & Sons, Inc., 768 F.2d 884, 889 (7th Cir. 1985) (citing, inter

alia, Gautreaux v. Pierce, 690 F.2d 616, 631 (7th Cir. 1982)).

III.   RESPONSE TO COMMENTS SUBMITTED BY THE COMMUNITY IN
       SUPPORT OF THE PROPOSED CONSENT DECREE

       Several of the Community’s recommended additional provisions have already been

incorporated into the agreement, in large part, due to the extensive community input received

during the drafting process. For example, the Impartial Policing Section of the Proposed Consent

Decree requires: CPD to implement policies and practices that will enable CPD to police fairly,

with courtesy and dignity, and without bias, including a prohibition on taunting or denigrating an

individual (Dkt. 107-1 ¶ 54); a requirement to establish protocols for protecting transgender,

intersex, and gender non-conforming individuals (Id. ¶ 61); a framework for implementing data-

driven efforts to identify and root out bias in policing (id. ¶¶ 79-82); annual in-service training to

ensure effective communication and meaningful access to police services for individuals with

disabilities (id. ¶¶ 68-69, 74); and annual in-service training on CPD’s sexual misconduct policy.

(id. ¶¶ 63, 74.) Similarly, the Supervision Section and Accountability and Transparency Section

of the Proposed Consent Decree include provisions that are responsive to several recommendations

regarding the evaluation of officers and the reporting of misconduct, including: requiring annual

performance evaluations for all CPD members, including school-assigned officers, that address

constitutional policing, community policing, problem-solving, and the effective use of de-

escalation or specialized training without requiring CPD members to achieve specific numerical

thresholds (id. ¶¶ 369-76); incentivizing the reporting of misconduct and disciplining officers who

fail to do so (id. ¶¶ 351-53, 436-37); publication of quarterly and annual aggregate data on

allegations of misconduct (id. ¶ 550); and annual publication of use-of-force data and any

associated analyses. (id. ¶ 546.)


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       Other Community-recommended additional provisions that have been incorporated into

the Proposed Consent Decree include: a requirement to treat all individuals impacted by officer-

involved shootings with dignity and respect (Id. ¶ 489); identified repercussions for officers who

fail to comply with CPD’s body-worn camera policy (id. ¶ 239); a requirement that the City invite

persons with lived experiences of behavioral or mental health crises to participate in the crisis

intervention response advisory committee (id. ¶ 132); regular review of crisis-intervention data to

ensure that CPD’s policies, practices, and training are consistent with the agreement and best

practices (id. ¶¶ 122-25); a commitment to hiring qualified applicants that reflect a broad cross

section of the Chicago community (id. ¶¶ 251, 258-60); and an emphasis on the effective use of

de-escalation. (id. ¶¶ 48, 85, 153, 156-57, 161, 244, 266, 370, 375.)

       While the Proposed Consent Decree lays a strong foundation to address longstanding

problems within CPD, the State acknowledges that certain recommendations made by the

Community are not included. The Proposed Consent Decree itself recognizes that many of these

issues need further exploration and discussion, such as diversion programs as an alternative to

arrest (Id. ¶¶ 11, 86), and the Community can continue to advocate for change in CPD policies and

practices. As Community members stated at the Fairness Hearing, the Proposed Consent Decree

represents a floor, not a ceiling, and should be approved.

IV.    RESPONSE TO COMMENT SUBMITTED BY DOJ OPPOSING THE PROPOSED
       CONSENT DECREE

       Throughout his term of office, President Donald J. Trump’s DOJ has taken the policy

position that the federal government must leave the administration of local law enforcement

agencies to state and local governments. See Ex. A, Memorandum for Heads of Department

Components and United States Attorneys, United States Attorney General, Supporting Federal,

State, Local and Tribal Law Enforcement (Mar. 31, 2017) (“Local control and local accountability


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are necessary for effective local policing. It is not the responsibility of the federal government to

manage non-federal law enforcement agencies.”). Here, the United States’ opposition to the

Proposed Consent Decree overlooks a critical fact – the Proposed Consent Decree is the result of

extensive arm’s-length negotiations between the State and the City, with significant participation

by CPD. Indeed, the Proposed Consent Decree is the very sort of state and local accountability that

President Trump’s DOJ claims to support.

       Despite purporting to embrace DOJ’s previously articulated policy position of leaving the

administration of local law enforcement agencies to state and local governments, the Statement of

Interest turns it on its head. For example, the Statement of Interest indicates that “[w]hile the

leadership of the City of Chicago, the CPD, and the State of Illinois are the front-line officials who

must address [the public safety] crisis, the United States Department of Justice stands ready to

help.” (Dkt. 160 at 2.) Yet, rather than provide “help” or support for the resolution the City, State,

and CPD have negotiated with painstaking precision over the course of eleven months, DOJ does

nothing more than attempt to eviscerate the State and local police reform efforts that are well

underway. Indeed, DOJ tries to undermine the collective judgment of the State, the City, and the

CPD by arguing, without factual support, that the hard-fought consent decree proposed by those

“front-line officials” does not address the challenges faced in Chicago:

               There may be times and places that necessitate carefully tailored
               consent decrees to bring a local agency into compliance with federal
               law. But this sweeping Proposed Consent Decree is not the right
               vehicle for the City of Chicago right now, as the City’s law
               enforcement professionals seek to combat a historic violent crime
               wave.

(Id. at 2, 10 (emphasis added).) Despite DOJ’s attempt to cast it as otherwise, the Proposed Consent

Decree is in fact another “crucial and laudable step[] to improve CPD’s compliance with federal



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law and protect the rights of its citizens” taken by the City and the State. Id. at 10. Accordingly,

even under DOJ’s reasoning, the Proposed Consent Decree should be entered by the Court.

         In addition to DOJ’s unsupported arguments regarding the “right vehicle” for police reform

in the City of Chicago, DOJ also asserts, in the most general fashion, that the Proposed Consent

Decree, suffers from “[f]our major—and problematic—features”: scope; authority of the

independent monitor; cost; and the Court’s retention of jurisdiction until the City has achieved full

and effective compliance. Id. at 5-10. These arguments merely regurgitate the current DOJ’s

general policy aversion to law enforcement consent decrees, but fail to critically examine the

substance of the Proposed Consent Decree and its capacity to address the challenges currently

faced in Chicago. In fact, these specific features of the Proposed Consent Decree mirror other

cities’ successful police reform consent decrees.1 Accordingly, DOJ’s general opposition to

consent decrees is not thoughtfully tailored to the provisions of this Proposed Consent Decree, and

should be disregarded.



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  See, e.g., (scope) United States v. Police Department of Baltimore City, et al., No. 1:17-cv-00099-JKB, Dkt. 2-2
(D. Md. Jan. 12, 2017) (addressing, inter alia, Community Policing and Engagement, Stops Searches, Arrests, and
Voluntary Police-Community Interactions, Impartial Policing, Responding To and Interacting With People With
Behavioral Health Disabilities or In Crisis, Use of Force, Interactions With Youth, Handling of Reports of Sexual
Assault, Supervision, Misconduct Investigations and Discipline, Recruitment Hiring and Retention, Staffing,
Performance Evaluations, and Promotions, Officer Assistance and Support); United States v. City of Ferguson, No.
4:16-cv-000180-CDP, Dkt. 41 (E.D. Mo. Apr. 19, 2016) (addressing, inter alia, Community Policing and
Engagement, Crisis Intervention, Force, Policies and Training, Recruitment, Supervision, Accountability, Data
Collection, Reporting, and Transparency); United States v. City of Cleveland, No. 1:15-cv-01046-SO, Dkt. 7-1 (N.D.
Ohio June 12, 2015) (addressing, inter alia, Community Engagement and Building Trust, Bias-Free Policing, Use of
Force, Crisis Intervention, Accountability, Officer Assistance and Support, Supervision). See, e.g., (authority of the
independent monitor) Police Department of Baltimore City, Dkt. 2-2, ¶ 283 (all material creation or revision of
policy subject to monitor approval); City of Ferguson, Dkt. 41, ¶ 44 (Ferguson will submit all policies, procedures,
protocols, plans, and other administrative orders or directives related to the consent decree, as well as any proposed
revision, to the monitor for approval prior to implementation). See, e.g., (cost) Police Department of Baltimore City,
Dkt. 2-2, ¶ 500 (“The City will be responsible for providing necessary and reasonable financial resources to BPD to
enable BPD to fulfill its obligations under the Agreement.”); City of Ferguson, Dkt. 41, ¶ 16 (Ferguson is
responsible for providing “necessary support and resources” to the Ferguson Police Department to ensure the
requirements of the consent decree are “fully implemented and sustained”). See, e.g., (compliance) Police
Department of Baltimore City, Dkt. 2-2, ¶ 504 (Baltimore must achieve “full and effective compliance” prior to
termination of the consent decree); City of Ferguson, Dkt. 41, ¶ 462 (Ferguson must achieve and sustain “full and
effective compliance” prior to the termination of the consent decree).

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       Finally, DOJ argues that “an alarming and unprecedented surge in violent crime and

homicide” in Chicago “over the last several years” counsels against entry of the Proposed Consent

Decree, speculating that its terms and obligations would “strip the CPD of the flexibility it needs

to address the violent crime crisis in Chicago.” (Dkt. 160 at 1, 11.) Not only does DOJ’s argument

incorrectly assume that constitutional policing and crime reduction are incongruent, it ignores the

fact that the substance of the Proposed Consent Decree is designed to increase trust between CPD

and the community and thereby help to reduce crime. DOJ cites to no specific provisions in the

Proposed Consent Decree to support its claims. Alarmingly, DOJ only considers violent crime and

homicide statistics from 2015-16, ignoring the year-over-year decline in violent crime and

homicide after 2015-16. See Ex. B, Chicago Police Department, CompStat City Wide, Week 41

(showing, inter alia, a citywide 24% decrease in murders, 16% decrease in robberies, and 8%

decrease in aggravated batteries between 2016 and 2018). DOJ also ignores the integral roles of

the City and CPD in determining Chicago’s crime fighting strategies to ensure that crime reduction

and reform are both prioritized and achieved by CPD.

       For the reasons stated above, DOJ’s opposition should not preclude approval of the

Proposed Consent Decree.

 V.    CONCLUSION

       The State respectfully requests that the Court grant the motion to approve the Proposed

Consent Decree, and enter the Proposed Consent Decree as an order of the Court.

Dated: December 10, 2018                        Respectfully submitted,

                                                For Plaintiff State of Illinois:

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                                                ATTORNEY GENERAL OF
                                                THE STATE OF ILLINOIS
                                          By: /s/ Cynthia L. Flores

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